                           UNITED STATES DISTRICT COURT
                                DISTRICT OF ALASKA

  UNITED STATES OF AMERICA,
                                            ORDER REGARDING
                          Plaintiff,        GOVERNMENT’S MOTION TO
                                            STRIKE; DEFENDANT’S REQUEST
                  v.                        FOR EVIDENTIARY HEARING
                                            (DOCS. 252, 253)
  ISHMAEL HOLLOWAY,
                                            Case No. 3:15-cr-00101-04-TMB-DMS
                          Defendants.




        The government filed a motion to strike, (Doc. 253), Defendant Ishmael

Holloway’s Request for Evidentiary Hearing Concerning his First Motion to

Suppress, (Doc. 252). Holloway’s motion was originally entered into CM/ECF

as a reply. This error was corrected on June 2, 2016. (See Doc. 252). The

government argues that the Request for Evidentiary Hearing should be

stricken because it is a reply to the government’s opposition without leave of

the court in violation of AK R USDCT LCrR 47.1(c). The government’s motion

to strike is DENIED because Holloway’s Request for Evidentiary Hearing is a

motion, not a reply.

        Holloway’s Motion for Evidentiary Hearing is also DENIED as moot.

The Court previously set an evidentiary hearing for June 22, 2016, at 1:30

p.m. on Holloway’s First Motion to Suppress on May 18, 2016, at Docket 238.



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        DATED this 6th day of June, 2016, at Anchorage, Alaska.

                                       S/DEBORAH M. SMITH
                                       CHIEF U.S. MAGISTRATE JUDGE




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